 

Case 14-10867-BL

B1 (Official Form 1) (04/13)

 

UNITED STATES BANKRUPTCY COURT

District of Delaware

 

 

Name of Debtor (if individual, enter Last, First, Middle):
Coldwater Creek Inc.

S Doci1 Filed 04/11/14 Page 1of 22

  

Y PETITION

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names).

 

Last four digits of Soc. Sec. or Individual-Taxpayer 1.D. (ITIN)/Complete EIN
(Gif more than one, state all):

XX-XXXXXXX

Last four digits of Soc. Sec. or Individual-Taxpayer LD. (ITIN)/Complete EIN
(Gif more than one, state all):

 

Street Address of Debtor (No. and Street, City, and State):

One Coldwater Creek Drive
Sandpoint, Idaho

[zip CODE 3864 |

Street Address of Joint Debtor (No. and Street, City, and State):

ize CODE |

 

County of Residence or of the Principal Place of Business:
Bonner County

County of Residence or of the Principal Place of Business:

 

Mailing Address of Debtor (if different from street address):

(zip CODE |

 

Mailing Address of Joint Debtor (if different from street address):

IP CODE

 

Location of Principal Assets of Business Debtor (if different from street address above):

[zie CODE |

 

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)
C1 Health Care Business (1 Chapter 7 (1 Chapter 15 Petition for
(1 Individual (includes Joint Debtors) C1 Single Asset Real Estate as definedin | [] Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C. § 101G1B) [A Chapter 11 Main Proceeding
| Corporation (includes LLC and LLP) Ol Railroad LJ Chapter 12 LC] Chapter 15 Petition for
[1] Partnership [1 — Stockbroker LI Chapter 13 Recognition of a Foreign
(C1 Other (If debtor is not one of the above entities, check [1 Commodity Broker Nonmain Proceeding
this box and state type of entity below.) [I~ Clearing Bank
[Zl Other

 

Country of debtor’s center of main interests:

Each country in which a foreign proceeding by, regarding, or
against debtor is pending:

Chapter 15 Debtors

 

O

Tax-Exempt Entity
(Check box, if applicable.)

Debtor is a tax-exempt organization
under title 26 of the United States
Code (the Internal Revenue Code).

 

Nature of Debts

(Check one box.)
C1] Debts are primarily consumer [/] Debts are
debts, defined in 11 U.S.C. primarily

§ 101(8) as “incurred by an
individual primarily for a
personal, family, or
household purpose.”

business debts.

 

&]

Filing Fee (Check one box.)

Full Filing Fee attached.

Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court’s consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court’s consideration. See Official Form 3B.

Check one box:

Check if:

O

 

Chapter 11 Debtors

L__ Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
[A Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

[1 _ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
on 4/01/16 and every three years thereafter).

Check all applicable boxes:

[A A planis being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes

of creditors, in accordance with 11 U.S.C. § 1126(b).

 

 

 

 

 

Statistical/Administrative Information THIS SPACE IS FOR
COURT USE ONLY
LA Debtor estimates that funds will be available for distribution to unsecured creditors.
Oj Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors.
Estimated Number of Creditors
tA O O O O CI 0 O oO
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over
5,000 10,000 25,000 50,000 100,000 100,000

Estimated Assets
O O im im O O O
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 — $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion

million million million million million
Estimated Liabilities
O O O O O O O I O O
$0 to $50,001 to $100,001to $500,001 $1,000,001 $10,000,001 $50,000,001 — $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion

million million million million million

 

 

 
 

Case 14-10867-BLS Doc1 Filed 04/11/14 Page 2 of 22

 

 

 

 

 

 

 

 

 

B1 (Official Form 1) (04/13) Page 2

Voluntary Petition Name,o Debtor(s
(This page must be completed and filed in every case.) oldwater Creek Inc.

All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Case Number: Date Filed:
Where Filed:
Location Case Number: Date Filed:
Where Filed:

Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: Case Number: Date Filed:
See Attached Schedule 1 Pending

District District of Delaware Relationship: Wudee:

Exhibit A Exhibit B
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and (To be completed if debtor is an individual
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d) whose debts are primarily consumer debts.)

of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
I, the attorney for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
of title 11, United States Code, and have explained the relief available under each
such chapter. I further certify that I have delivered to the debtor the notice required
by 11 U.S.C. § 342(b).

[Vl Exhibit A is attached and made a part of this petition.
xX

 

 

Signature of Attorney for Debtor(s) (Date)

 

Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
(1 Yes, and Exhibit C is attached and made a part of this petition.

“1 No.

 

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

[1 Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.
If this is a joint petition:

(1 Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box.)
om Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

O

There is a bankruptcy case conceming debtor’s affiliate, general partner, or partnership pending in this District.

O Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

Oj Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

Oj Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

Oj Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
of the petition.

O Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362()).

 

 

 
 

 

Case 14-10867-BLS Doc1

Filed 04/11/14 Page 3 of 22

 

Page 3

 

Voluntary Petition
(This page must be completed and ed inevery caxe.)

EERE BERD i ing.

 

Sig outuree

 

Signature(s) of Debtor(s) Uadividual Joint}

I declare under. penalty of perjury thot ibe information provided in this petition is ifue
and coirent.

[if petitioner an individual whose debts anh primanly consumer debts and has
chasen io file under chapter 7] J am aware thet may proceed under chapter-7, E), 12
ar T3-of ttle.11, United States Code, undeutand the relief avaiable under eat such
chaplwr, and chodse.te proceed wider chapter. 7.

[if no attorney represents me and po bankruptcy petition preparer signs the petition} |
have obinined and read the notlee maiquired by 17 U.S.C. § 342(b).

1] request relief’ in secordance with: the chapter of tide £1, United States Code,
specified in this petition:

x

 

Signature of Debtor

 

Signature of Joint Debtor

 

Telephone Number {if hot represeniod by attorney}

 

Dats

Sigueture of x Foreign Representative
1 dsclige under: penalty of porjwy_thet the eiformation provided in this petition is
true and -dorrsel, that Dari the foreign representative of a deblor ia foreign
proceeding, and thal I anv authorized to file. this petition.
(Check only one box.)

LJ] request celle in necondance with chapter 14 of tile 1), United Stites Code
Cériified copies of the documents required by 11 U.S.C, §-1515 are attached.

EC} Prurauaiit to $1 U,8.C--8 1511, P sequest mlief mi escordance with the
chapter of He 11 specified in this padden: A certified copy of tha
orier granting recognition of the Tnreign main proctoding is ntached

x

 

(Signatare of Feredg: Representative}

 

(Panied Nene of Foreign Rapresenmilve}

 

Date

 

% “ae i Adtoracy*

Cg

« Le

+ . .
(Signatis of Otixnes for Debtor(s)

 

 

 

 

 

Vane eondway Slarga ‘Taylor, LEP
Firm Nome

Wilmington; BE-16864

468} 571-6600

“Telaph : 5

mePNNETL ft) Roly

 

Date

*{n 9 pase in which §-207(b4)(D) applica, this signature elec constitutes &
certiflostion that the attomey: has ne knowledge after sat inquiry that the inf
in the schedules is incorrect,

Slenature of Non-Attoraty Buakrupicy Petliion Preparer

I declare under penalty of perjury that (1) 1 ams bankrupley potition preparer as
dofined in 1108.08 10; @)1 prepared this document for compenamion and have
provided the deblor sith 9 copy of thir document and the notices and information
required under 1} U.S.C. G2 L10(by, 11008), and 3420b)y and) GP rales. or
gisdelines have been promilgated” porusnt to 11 U.S.C, § 110(h) setting -«
maimum fee fbr services chargeable by bankruptcy patition properara, J have given
the debior potice of the maximum amount befor preparing any document foe Ming
‘fora: debtor pr xcecpting any foe from the dabiac, as required in that yection.
Official Porm 19:18 attached,

 

Printed Name and tite, dfaciy, of Bankruptcy Potition Prepaser

 

Social-Security number (tthe bankruptcy petition preparer. is not an
Individual state: the Social-Security number: of. the: officer, “principal,
responsible person or partner of the bankruptcy petition preparer.) (Required
WITS ENG . mes

 

 

Sigsature of Debtor (Corporatian/Partnership)

I declare under ponaltyof perjury that the information provided in this petition is ie
and comeol, and that | have bean authored to file this pertion an behalf af tie
debtor,

the relief in accordance with ihe chapter of tite 11, United Sites
petition.

“The debtor
Code,

    

x

 

 

Address

 

 

Bate

Signarwre of bankruptcy: perkion preparer or officer, principal, responsible person,
of parinat whose Sacial-Secwity number is provided above.

Names and Social-Seourlty mumbers of all other Individualy who prepamd. or
sasisied in preparing this dacument unises the benkripicy petiiion preparer is riot an
individual,

If more than, ofa person ‘prepared te’ document, aiech additional sheats
goiforming 10 the appropriate official form for snoh pemon:

A bankripicy petites preparers falters to comply with thy provisons of Hite dt
and the Paderal Rules af Bankruptcy Procedure may resull in fines or iniprtsonecent
or Both. [EUS £ 0 RUSS, § 156,

 

 
Case 14-10867-BLS Doc1 Filed 04/11/14 Page 4 of 22

SCHEDULE 1

On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United

States Code:

NYDOCS03/977868. i

Coldwater Creek Inc.

Coldwater Creek U.S. Inc.

Aspenwood Advertising, Inc.

Coldwater Creek The Spa Inc.

CWC Rewards Inc.

Coldwater Creek Merchandising & Logistics Inc.
Coldwater Creek Sourcing Inc.

CWC Sourcing LLC
Case 14-10867-BLS Doc1 Filed 04/11/14 Page 5 of 22

B 1A (Official Form 1, Exhibit A) (9/97)

Tf debtor is required to file periodic re
Sion 13 or i of oft Séeurities Exch
it ‘A” sha

oe rts (2.8. forms OK and 10Q) with the Securities pnd Exchange Commission pursyant to
XAL

n
an 4 and is regiiesting relief under chapter I] of the Bankruptcy Code, this
e’completed and aliached to the petition. ii 4 g relief P Hi eee

UNITED STATES BANKRUPTCY COURT

District of Delaware

Inte Coldwater Creek Inc. Case No, Pending

 

Debtor

Chapter 11

EXHIBIT “A” TO VOLUNTARY PETITION
1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the
SEC file number is 0-21915

2. The following financial data is the latest available information and refers to the debtor’s condition on

February 1, 2014* .

 

 

 

 

 

 

a. Total assets g _—-278,478,476.29

b. Total debts (including debts listed in 2.c., below) $ 361,267,980.14

c. Debt securities held by more than 500 holders: Approximate
number o

holders:

secured unsecured 1 subordinated O 3 0 0

secured unsecured 1 subordinated 0 $

secured unsecured subordinated © $

secured unsecured 1 subordinated O $

secured © unsecured 0 subordinated © $

d. Number of shares of preferred stock 1,000 1

e. Number of shares common stock 30,701,175 6,100

 

Comments. if anv:

* The total assets and debts listed for Coldwater Creek Inc. is shown on a consolidated basis.
The number of shares of commen stock is as of April 1, 2014.

3. Brief description of debtor’s business:

Coldwater Creek Inc,, a Delaware corporation, together with its wholly-owned subsidiaries, headquartered in
Sandpoint, Idaho, is a multi-channel specialty retailer of women's apparel, jewelry and accessories.

4, List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or

more of the voting securities of debtor:

Golden Gate Private Equity, Inc. - 19.8%; Dennis C. Pence - 18.4%; E. Ann Pence - 14.7%; and Prentice
Capital Management, LP - 7.6%.

 
 

Case 14-10867-BLS Doc1 Filed 04/11/14 Page 6 of 22

EXECUTION VERSION

SECRETARY’S CERTIFICATE OF
THE BOARD OF DIRECTORS OF
COLDWATER CREEK INC.

April 9, 2014

The undersigned, hereby certifies that he is the duly elected and acting Secretary
of Coldwater Creek Inc., a Delaware corporation (the “Corporation’”), and that, as such, he is
duly authorized to execute and deliver this Secretary’s Certificate on behalf of the Corporation.

He hereby further certifies on behalf of the Corporation that attached hereto as
Exhibit A is a true, correct and complete copy of resolutions duly and validly adopted by the
Board of Directors of the Corporation at a board meeting held on April 9, 2014, evidencing,
among other things the authorization of a proposed voluntary petition to be filed by the
Corporation in the United States Bankruptcy Court for the District of Delaware seeking relief
under the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101, et
seq., in which, among other things, the authority to operate as a debtor in possession will be
sought. Such resolutions have not been modified, amended or rescinded and remain in full force
and effect as of the date hereof.

[signature page follows]

NYDOCS03/984159.10
 

Case 14-10867-BLS Doc1 Filed 04/11/14 Page 7 of 22

IN WITNESS WHEREOF, the undersigned has executed this Secretary's
Certificate on behalf of the Corporation as of the date first set forth above,

COLDWATER CREEK INC,

t ge AT
By: | } ania
Name\ Ighn 4 Hayes tl

Title: Seeretary

  
  

{Sieneture page io Secretary's Certificate of the Board af Directors of Coldwater Creek Inc.|
Exhibit A

Resolutions
 

V

Case 14-10867-BLS Doc1 Filed 04/11/14 Page 9 of 22

RESOLVED, that the Board of Directors (the “Board” of Coldwater Creek Inc.
(the “Corporation”) has had the opportunity to consult with management and the advisors of the
Corporation and consider fully the strategic alternatives available to the Corporation and the
liabilities and liquidity situation of the Corporation, and has determined that it is in the best
interests of the Corporation and its stakeholders for the Corporation to commence a chapter I 1
case (a “Case”; together with the other chapter 11 cases commenced by its affiliates, which cases
were authorized by their respective managers or boards of directors on the date hereof, the
“Cases”) to effect an orderly liquidation of its assets and consummate a chapter plan of
liquidation by filing a voluntary petition in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) seeking relief under the provisions of chapter 11 of title 11
of the United States Code, 11 U.S.C. §§ 101, et seg. (the “Bankruptcy Code”), in which, among
other things, the authority to operate as a debtor in possession will be sought, and the filing of
such petition is authorized hereby; and it is further

RESOLVED, that the Chief Operating Officer, General Counsel and each officer
of the Corporation be appointed by the Board as an authorized signatory (each, individually, an
“Authorized Signatory,” and, collectively, the “Authorized Signatories”) in connection with
the Case authorized herein; and it is further

RESOLVED, that the Authorized Signatories of the Corporation be, and each of
them hereby is, authorized, directed, and empowered in the name and on behalf of the
Corporation to execute, acknowledge, deliver, and verify the petition and all other ancillary
documents to be filed in the Bankruptcy Court in such form and at such time as the Authorized
Signatory executing said petition on behalf of the Corporation shall determine and to take any
and all action that they deem necessary or proper to obtain such relief; and it is further

WHEREAS, the Board determined that it is in the best interests of the
Corporation and its stakeholders for the Corporation to file the plan of liquidation implementing,
among other things, the wind-down of the business of the Corporation and distribution of
proceeds among stakeholders, on the terms outlined to the Board on the date hereof (the “Plan”).

RESOLVED, that the Authorized Signatories of the Corporation be, and each of
them hereby is, authorized, directed, and empowered from time to time in the name and on
behalf of the Corporation, to execute and file or cause to be executed and filed (or to direct
others to do so on their behalf as provided herein) all necessary documents, including, without
limitation, all affidavits, declarations, schedules, motions, responses, objections, lists,
applications, complaints, pleadings, and other papers, and to employ and retain all assistance by
legal counsel, accountants, or other professionals and to take any and all other action which they
or any one of them deem necessary, proper, or desirable in connection with the Case
contemplated hereby, with a view to the successful prosecution of the Case; and it is further

RESOLVED, that the Authorized Signatories of the Corporation be, and each of
them hereby is, authorized, directed, and empowered from time to time in the name and on
behalf of the Corporation to execute, deliver, and perform for and on behalf of the Corporation,
as a debtor and debtor in possession, such agreements, instruments, and any and all other
documents and amendments necessary or appropriate to facilitate the transactions contemplated
by the immediately foregoing resolution, containing such provisions, terms, conditions,
   

 

PoC FUSE SES SSE DEALS esas See JEP ei Seer eae ] [Sc egeue ees:
Case 14-10867-BLS Doc1 Filed 04/11/14 Page 10 of 22

 

covenants, warranties, and representations as may be deemed necessary or appropriate by the
Authorized Signatory or Authorized Signatories so acting; and it is further

RESOLVED, that the actions of any Authorized Signatory taken pursuant to these
resolutions including the execution, acknowledgement, delivery, and verification of the petition
and all ancillary documents, and all other agreements, certificates, instruments, guarantees,
notices, and other documents, shall be conclusive evidence of such Authorized Signatory’s
approval and the necessity or desirability thereof; and it is further

RESOLVED, that the Authorized Signatories be, and they hereby are, authorized
and directed to employ the law firm of Shearman & Sterling LLP as general bankruptcy counsel
to represent and assist the Corporation in carrying out its duties under the Bankruptcy Code, and
to take any and all actions to advance the Corporation’s rights and obligations, including filing
any pleadings; and in connection therewith, the Authorized Signatories, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Shearman & Sterling LLP; and it is further

RESOLVED, that the Authorized Signatories be, and they hereby are, authorized
and directed to employ the law firm of Young Conaway Stargatt & Taylor, LLP as co-
bankruptcy counsel to represent and assist the Corporation in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Corporation’s rights and
obligations, including filing any pleadings; and in connection therewith, the Authorized
Signatories, with power of delegation, are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Young Conaway Stargatt & Taylor, LLP; and it
is further

RESOLVED, that the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Perella Weinberg Partners LP as investment banker to
represent and assist the Corporation in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance the Corporation’s rights and obligations; and in connection
therewith, the Authorized Signatories are, with power of delegation, hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to
be filed an appropriate application for authority to retain the services of Perella Weinberg
Partners LP; and it is further

RESOLVED, that the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Alvarez & Marsal North America, LLC as financial advisor to
represent and assist the Corporation in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance the Corporation’s rights and obligations; and in connection
therewith, the Authorized Signatories, with power of delegation, are hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to
be filed an appropriate application for authority to retain the services of Alvarez & Marsal North
America, LLC; and it is further
 

Case 14-10867-BLS Doc1 Filed 04/11/14 Page11lof22.

RESOLVED, that the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Prime Clerk LLC as notice and claims agent and as
administrative advisor to represent and assist the Corporation in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Corporation’s rights and
obligations; and in connection therewith, the Authorized Signatories, with power of delegation,
are hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed appropriate applications for authority to retain the services of
Prime Clerk LLC; and it is further

RESOLVED, that (a) the Corporation will obtain benefits from the use of
collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy
Code (the “Collateral”), which is security for the lenders (collectively, the “Prepetition
Secured Lenders”) under (i) the Amended and Restated Senior Secured Credit Agreement,
dated as of May 16, 2011, as amended by that certain First Amendment to the Amended and
Restated Credit Agreement, dated as of July 9, 2012 (the “ABL Credit Agreement”), among
Coldwater Creek U.S. Inc. and its affiliates as borrowers thereunder and guarantors thereto, and
Wells Fargo Bank, National Association, as administrative agent, collateral agent and swing line
lender and (ii) the Term Loan Agreement, dated as of July 9, 2012, among Coldwater Creek U.S.
Inc. and its affiliates as borrowers thereunder and guarantors thereto and CC Holdings Agency
Corp., as administrative agent, collateral agent and lender and (b) in order to use and obtain the
benefits of the Collateral, and in accordance with section 363 of the Bankruptcy Code, the
Corporation will provide, and the Corporation shall be, and it hereby is, authorized to provide
certain “adequate protection” to the Prepetition Secured Lenders, as documented in an order
submitted for approval to the Bankruptcy Court and presented to the Board on the date hereof;
and it is further

RESOLVED, that the Corporation, as a debtor and debtor in possession under
chapter 11 of the Bankruptcy Code, shall be, and it hereby is, authorized to: (a) enter into a
senior secured superpriority debtor in possession credit agreement in an aggregate amount not to
exceed $75 million, including a roll-up of the prepetition obligations under the ABL Credit
Agreement, on substantially similar terms disclosed to to the Board on the date hereof, and any
associated documents (collectively, the “DIP Loan Documents”), and consummate the
transactions contemplated therein (collectively, the “Financing Transactions”), with Wells
Fargo Bank, National Association (the “DIP Agent”) and other such lenders and on such terms
as may be approved by any one or more of the Authorized Signatories, as may be necessary or
convenient to the successful prosecution of the Case; and (b) pay related fees and grant or ratify
security interests in and liens upon some, all, or substantially all, of the Corporation’s assets in
each case as may be deemed necessary or desirable by any one or more of the Authorized
Signatories in connection with the Financing Transactions; and it is further

RESOLVED, that each and every officer, including the Authorized Signatories, of
the Corporation be, and each of them hereby is, authorized, directed, and empowered from time
to time in the name and on behalf of the Corporation to take any and all such actions, and to
execute and deliver or cause to be executed and delivered under seal of the Corporation or
otherwise, any and all such other documents, agreements, certificates, writings, instruments, and
promissory notes to be delivered in connection with the DIP Loan Documents (including,
without limitation, any amendments, supplements, or modifications to the DIP Loan Documents

3
 

Case 14-10867-BLS Doc1 Filed 04/11/14 Page 12 of 22

and such other documents, agreements, certificates, writings, and instruments to be delivered in
connection therewith), and to grant or to ratify the security interests in or liens on any real or
personal property of the Corporation now or hereafter acquired as contemplated by the DIP Loan
Documents with full authority to endorse, assign, or guarantee any of the foregoing in the name
of the Corporation, in each case, as any such officer may deem necessary or advisable to carry
out the intents and purposes of the immediately foregoing resolution, his or her execution and
delivery thereof to be conclusive evidence that he or she deems it necessary or advisable, and of
his or her authority to so act, and of his or her approval thereof; and it is further

RESOLVED, that each and every officer, including the Authorized Signatories, of
the Corporation be, and each of them hereby is, authorized, directed, and empowered in the name
and on behalf of the Corporation to authorize the DIP Agent to file any financing statements,
including Uniform Commercial Code financing statements, United States Patent and Trademark
Office and United States Copyright Office recordings, and any other documents in connection
therewith that the DIP Agent deems necessary or convenient to perfect any lien or security
interest granted under the DIP Loan Documents, including any such Uniform Commercial Code
financing statement containing a generic description of collateral, such as “all assets,” “all
property now or hereafter acquired”, and other similar descriptions of like import, as appropriate,
and to execute, deliver, and record or authorize the recording of, such mortgages and deeds of
trust in respect of real property of the Corporation and such other filings in respect of intellectual
and other property of the Corporation, in each case as the DIP Agent may reasonably request to
perfect the security interests of the DIP Agent; and it is further

RESOLVED, that all acts and actions taken by the Authorized Signatories prior to
the date hereof with respect to the transactions contemplated by the DIP Loan Documents be,
and hereby are, in all respects confirmed, approved and ratified; and it is further

RESOLVED, that the Authorized Signatories be, and each of them, acting alone
hereby is, authorized, empowered, and directed to take any and all actions to (a) initiate a
chainwide “going out of business” sale process and store closure process, including the retention
of a liquidator to act as agent of the Corporation in the conduct of sales and enter into an agency
or similar agreement to effectuate such processes, all as outlined to the Board on the date hereof;
(b) pay in full the obligations due and owing to the DIP Agent on the terms set forth in the DIP
Loan Documents and any related orders of the Bankruptcy Court; (c) file the Plan and all related
documents; and (d) enter into a plan support agreement with the Prepetition Secured Lenders;
and it is further

RESOLVED, that the Authorized Signatories be, and each of them, acting alone
hereby is, authorized, empowered, and directed to take any and all actions in the name of and on
behalf of the Corporation to execute and file with the applicable Securities and Exchange
Commission (the “SEC”) or NASDAQ rules and regulations, and in connection therewith, to
execute and file all requisite papers and documents, including, but not limited to, current reports
on Form 8-K and any other SEC or NASDAQ filings the Authorized Signatories of such papers
and documents or the doing by them of any act in connection with the Cases; and it is further

RESOLVED, that the Authorized Signatories be, and each of them, acting alone
hereby is, authorized, empowered, and directed to take any and all actions in the name of and on

4
Case 14-10867-BLS Doc1 Filed 04/11/14 Page 13 of 22

behalf of the Corporation to comply with all other applicable requirements and regulations of
federal, state, local and foreign administrative or governmental agencies in each jurisdiction
where the Corporation or any of its subsidiaries conducts any business or owns any property or
assets, the Authorized Signatories of the Corporation are authorized and directed to prepare or
cause to be prepared with the assistance of counsel, execute and file or cause to be filed, in the
name and on behalf of the Corporation, all registrations, reports, statements, documents and
information required to be filed by the Corporation with any administrative or governmental
agency or agencies as may, in their judgment, be required in connection with the transactions
contemplated by the Cases; and it is further

RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Signatories or any other officers of the Corporation to seek relief under the
Bankruptcy Code or that were consistent with the purposes and intents of the foregoing
resolutions be, and hereby are, adopted, ratified, confirmed, and approved in all respects as the
acts and deeds of the Corporation; and it is further

RESOLVED, that in addition to the specific authorizations heretofore conferred
upon the Authorized Signatories of the Corporation, each of the Authorized Signatories be, and
each of them hereby is, with full authority to act without the others, authorized and directed, in
the name and on behalf of the Corporation, to take or perform or cause to be taken or performed
all such further actions, to execute and deliver or cause to be executed and delivered all such
further certificates, agreements, instruments, and documents in the name and on behalf of the
Corporation, to incur and pay or cause to be paid all such fees and expenses as in their judgment
shall be necessary or advisable in order to carry out fully the intents and purposes of any and all
of the foregoing resolutions.
 

Case 14-10867-BLS Doc1 Filed 04/11/14 Page 14 of 22

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

x
In re: Chapter 11
COLDWATER CREEK INC., et al.,' "Case No. 14- (__)
Debtor. . (Joint Administration Requested)
x

CONSOLIDATED LIST OF CREDITORS
HOLDING 30 LARGEST UNSECURED CLAIMS

Coldwater Creek Inc., on behalf of itself and its affiliated debtors and debtors in
possession (the “Debtors”) filed a petition in the Court for relief under chapter 11 of title 11 of
the United States Code, 11 U.S.C. §§ 101, ef seq. (the “Bankruptcy Code”).

The following is a list of the Debtors’ creditors holding the 30 largest unsecured
claims on a consolidated basis, as of April 8, 2014 unless otherwise indicated. The list is
prepared in accordance with Fed. R. Bankr. P. 1007(d). This list does not include (i) persons
who come within the definition of an “insider” set forth in section 1011) of the Bankruptcy
Code, or (ii) secured creditors unless the value of the collateral is such that the unsecured
deficiency places the creditor among the holders of the 30 largest unsecured claims against the
Debtors, on a consolidated basis.

 

The Debtors in these proceedings (including the last four digits of their respective taxpayer identification
numbers) are: Coldwater Creek Inc. (9266), Coldwater Creek U.S. Inc. (8831), Aspenwood Advertising,
Inc. (7427), Coldwater Creek The Spa Inc. (7592), CWC Rewards Inc. (5382), Coldwater Creek
Merchandising & Logistics Inc. (3904), and Coldwater Creek Sourcing Inc. (8530). Debtor CWC Sourcing
LLC has the following Idaho organizational identification number: W38677. The Debtors’ corporate
headquarters is located at One Coldwater Creek Drive, Sandpoint, Idaho 83864.

NYDOCS03/977786.10
   

Comenity Bank

John J. Coane — President

Contract

age 15 of 22

 

 

 

 

 

 

 

 

Contingent,
1 One Righter Parkway Phone: 614-729-4000 Claim Unliquidated
* | Suite 100 Fax: 614-755-3175
Wilmington, DE 19803
Groupon Attn: Eric Lefkofsky — Chief | Contract | Contingent,
600 West Chicago Ave. Executive Officer Claim Unliquidated
2 Suite 620 Phone: 312-676-5773
* | Chicago, IL 60654 Fax: 312-276-3231
Email:
support@groupon.com
FTN Co Ltd ENC Lee In Gyon — Chief Trade $6,140,440
12" Floor, ENC Venture Dream | Executive Officer Debt
Tower 6-Cha 183-251 Phone: 82-2-550-2800
3. | Guro 3-Dong Fax: 82-2-550-2841
Guro-Gu
Seoul, 152-719
Korea
Charter Ventures Limited Trene Chan — General Trade $5,663,238
4. | 30-32 Kung Yip Street Manager Debt
Hong Kong, Phone: 852-2-2110337
Hong Kong Fax: 852-2-4226399
Orient Craft Ltd Mr. Sudhir Dhingra — Trade $2,590,982
F-8, Okhla Industrial Area, Chairman and Managing Debt
5. | Phase I Director
New Delhi, 110020 Phone: 91-11-834-2042
India Fax: 91-11-34-1110
Chinamine Trading Limited Bu Ziming — Managing Trade $2,390,577
6 No 1 Hung To Road Director Debt
* | Floor 28, Suite 2802-2809- Phone: 852-2357-0966
Kwun Tong, 890920 Fax: 852-2304-0662
Hong Kong
Thyme John Liu — Chief Executive Trade $2,214,113
c/o The Apparel Group Ltd. Officer Debt
7. | 883 Trinity Drive Phone: 214-469-3300
Lewisville, TX 75056 Fax: 212-328-1281
Concept Creator Fashion Peter T. Chung — Director Trade $2,211,109
Limited Phone: 852-2950-9788 Debt

8. | 27 F & 28F Futura Plaza
111-113 How Ming Street
Kwun Tong,

Hong Kong

 

 

Fax: 852-2790-6802

 

 

 

 

NYDOCS03/977786.10

 

 
‘

Case 14-10867-BLS

Doc1 Filed 04/11/14 Page 16 of 22

Trade

   

$1,921,114

 

 

 

 

 

 

 

 

Gary Hong Kong Limited Attn: Elaine Chan

9. | 31 Tai Yau Street Phone: 852-23265202 Debt
Kowloon, Fax: 852-23523379
Hong Kong Email: elaine@hnml.com.hk
Matrix Clothing Pvt Ltd Mr. Gautam Nair — Managing | Trade $1,676,352
Khandsa Road Director Debt

10. | Village Mohammadpur Phone: 91-124-4510500
Gurgaon, 122001 Fax: 91-124-4510660
India
GTL Asia Limited Jason Wang Trade $1,470,652
No 658 Jin Zhong Road Phone: 212-302-1418 Debt

1 Building No.3 Chang Ning Fax: 212-302-1412

*| District

Shanghai, 200335
China
INT Trading SA Dae Young Kim ~ General Trade $1,377,296
Calzada Roosevelt Oficina 17 Manager Debt
C/D Torre Phone: 502-22002600

12. | Luna Edificio Tikal Futura 22- | Fax: 502-24403524
43 Zona 11
Guatemala City, 1011
Guatemala
Quad / Graphics Inc. Atin: Legal Department Trade $1,315,260
International Headquarters Bankruptcy Notices Debt
N61 W23044 Phone: 888-782-3226

13. Harry’s Way Fax: 414-566-4650
Sussex, WI 53089 Email: qgraphics@qg.com
Esquel Enterprises Limited Lee Koon Lam ~ Global Trade $1,296,297
12/F Harbour Centre Sales Managing Director Debt

14, | 25 Harbour Road Phone: 852-2811-8077
Wanchai, Fax: 852-2960-6988
Hong Kong
Lee and Co Ltd Lee Doo Hyeong Trade $1,286,254
Dowon Building Phone: 82-02-559-3700 Debt

1s 903-21 Daechi-Dong, Fax: 82-02-588-4231

“| Kangnam-Gu

Seoul, 135-280
Korea
United Parcel Service Attn: Legal Department Trade $1,220,237

16 55 Glenlake Parkway NE Bankruptcy Notices Debt

 

Atlanta, GA 30328

 

Phone: 800-742-5877
Fax: 404-828-6777

 

 

 

 

 

NYDOCS03/977786. 10
 

 

Case 14-10867-

BL

S Doci. Filed 04/11/14

Pa

 
   

    

 

 

 

 

 

 

 

 

: adicated
Pedone & Partners’s Inc Michael Pedone Trade $1,132,547
17. | 49 W. 27th Sreet Phone: 212-627-3300 Debt
New York, NY 10001 Fax: 212-627-3966
Bureau Of Customs R. Gil Kerlikowske — Trade $936,247
1300 Pennsylvania Avenue Commissioner Debt
N.W. Phone: 632-527-4237
18. | Washington, DC 20229 Fax: 632-527-4537
Email: boc.commissioner@
customs.gov.ph;
boc.sitp@customs.gov.ph
Delta Global Sourcing Ltd Chiu Lai Man — Director Trade $908,315
3/F Fook Cheong Building Phone: 852-21526000 Debt
19. | 63 Hoi Yuen Road Fax: 852-21511155
Kwun Tong,
Hong Kong
AT Clayton & Co., Inc. Attn: Legal Department Trade $886,039
20 300 Atlantic Street Bankruptcy Notices Debt
"| 7 Floor Phone: 203-658-1200
Stamford, CT 06901 Fax: 203-658-1201
Hop Shing Knitting Fact Co Hansong Wang — Director Trade $866,906
Ltd Phone: 852-23255998 Debt
2/F High Win, Flat G Fax: 852-23255332
21. | Factory Building 47 Hoi
Yuen Road Kwun Tong
Kowloon,
Hong Kong
Fansky Industries Limited Chong Ngai — Managing Trade $852,651
118 Connaught Road West Director Debt
RM2801, 28/F, Yat Chau Int’] | Phone: 852-25597789
22. | Plaza Fax: 852-28580335
Sai Ying Pun
Hong Kong,
Hong Kong
Intimark S.A. de C.V. Dennis Rockwell — Sales Trade $784,288
73 Lote 13,14,15 S/N Conjunto Director Debt
“~" | Ixtlahuaca, 50740 Phone: 52-712-1229999
Mexico Fax: 52-712-2831042
Poong In Trading Co Ltd Attn: President, General Trade $724,746
24 715 Gyeongin-Ro Counsel Debt
*| Seoul, 150-972 Phone: 82-2-6309-4120
Korea Fax: 82-2-549-8310

 

 

 

 

 

 

NYDOCS03/977786.10

 
 

Case 14-10867-BLS Doc1 Filed 04/11/14 Page 18 of 22

Attn: Legal Department

   

$720,630

 

 

 

 

 

 

Kibble and Prentice Holding Insurance
CL Bankruptcy Notices Premium
25. | Two Union Square Phone: 206-441-6300
601 Union St Ste 1000 Fax: 206-441-6312
Seattle, WA 98101 Email: info@kpcom.com
Yee Tung Garment Co Ltd Attn: Legal Department Trade $714,527
3-7/F Chiap Luen Ind Bldg Bankruptcy Notices Debt
26. | Kwai Chung Phone: 852-2211- 0100
Hong Kong Fax: 852-2480-5358
Email: info@yeetung.com
GG International Junho Kim Trade $633,575
Manufacturing Phone: 82-02-338-4706 Debt
27. | 192, Jangchungdan-Ro Fax: 82-02-718-4706
Seoul, 100-391
Korea
Blossom Wealth Enterprises William Tang — General Trade $616,997
Ltd Merchandising Manager Debt
28. | Blk 2/F Hoover Ind Bldg Phone: 852-24892917
Kwai Chung, Fax: 852-24806568
Hong Kong
Gokaldas Images PVT LTD Attn: Legal Department — Trade $556,191
8 West 40" Street, 3" Floor Bankruptcy Notices Debt
29. | New York, NY 10018 Phone: 212-730-3950
Fax: 212-730-3970
Email: giusa@gokaldas.com
AUHC Denim Clothing Attn: Frederick Chua Trade $533,650
Limited (Director) Debt

30.

 

23 Tai Yip Street
Hong Kong, Hong Kong

 

Phone: 852-21218942
Email: fred@auhcdenim.com

 

 

 

 

NYDOCS03/977786. 10

 
Case 14-10867-BLS Doci Filed

DECLARATION CONCERNING
THE DEBTORS? CONSOLIDATED LISP OF CREDITORS HOLDING
THE 30 LARGEST UNSECURED CLAIMS
Pursuant ty 28 LS.0. § 1740. 1. James A. Bell, am an authorized stenatory of Coldwater
Creek Jac. and devlare under penalty of perjury that [ have reviewed the foregoing list and Urat
the list is tue and correet to the best of my information and belie!
Dated: Apro {7.2014
Cnldwatér Creek Ine! on behalf of riselCand its
alfiiated Debtors and Debtors in Possession:

 

 

ae foo, y ee, £
Name dames As els

ae Pye ‘ tyes > B.
Pithe: Executive Vice President,

Sinema gag eet . voy, dag
Cher Operating Officer und
Chief Financial Officer

[Signature Page Carisulidated List OF Creditors Hadding 30 Largest Uniscvnod Chines}
 

Case 14-10867-BLS Doc1 Filed 04/11/14 Page 20 of 22

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re:
: Chapter 11
COLDWATER CREEK INC., et al.,' :
: Case No. 14— ( )
Debtors. :
: (Joint Administration Requested)
x

 

CORPORATE OWNERSHIP STATEMENT

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1,
Coldwater Creek Inc. (“CWC”) on behalf of itself and its affiliated debtors and debtors in
possession in the above-captioned cases (collectively, the “Debtors”), respectfully represents as

follows:

1. CWC is the corporate parent of each of the other Debtors in these chapter 11
cases and directly or indirectly owns 100% interest in all of the other Debtors.

2. CWC’s equity securities are publicly held. No entity directly or indirectly
owns 10% or more of the issued and outstanding common stock of CWC.

3. The Debtors do not (i) directly or indirectly own 10% or more of any class of
equity interests in any corporation whose securities are publicly traded or (ii)
own an interest in any general or limited partnership or joint venture.

Attached hereto as Exhibit A is an organizational chart reflecting all the ownership interests in

each Debtor other than CWC.

 

The Debtors in these proceedings (including the last four digits of their respective taxpayer identification
numbers) are: Coldwater Creek Inc. (9266), Coldwater Creek U.S. Inc. (8831), Aspenwood Advertising,
Inc. (7427), Coldwater Creek The Spa Inc. (7592), CWC Rewards Inc. (5382), Coldwater Creek
Merchandising & Logistics Inc. (3904) and Coldwater Creek Sourcing Inc. (8530). Debtor CWC Sourcing
LLC has the following Idaho organizational identification number: W38677. The Debtors’ corporate
headquarters is located at One Coldwater Creek Drive, Sandpoint, Idaho 83864.

NYDOCS03/986618.4
Case 14-10867-BLS Doci1 Filed 04/11/14

EXHIBIT A

Capital Structure and Organizational Chart

Page 21 of 22

 

 

 

 

 

 

Coldwater Creek HK Limited
Hong Kong

 

 

Key
(C1 Non-debtor
Chapter 11 Debtor

NYDOCS03/986618.4

 
 

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re} é
' : Chapter 1]
COLDWATER CREEK INC., ef al, :
Case No. 14- ( }
Debtors. :
: (Jomt Administration Requested)
x

 

DECLARATION CONCERNING CORPORATE OWNERSHIP STATEMENT
I, John E. Hayes IH, the undersigned authorized signatory of Coldwater Creek

Inc. and its affiliated debtors and debtors in possession in the above-captioned cases, declare

ig true and correct to the best of my information and belief.

is,

under penalty of perjury that I have read the foregoing corporate ownership statement and that it

Name? J obn E. Hayes {Il

&

 

Dated: April _[f , 2014

 

 

Title: “Sengor Vice President,
General Counsel and Secretary

 

i The Debtors in these proceedings (including the last four digits of their respective taxpayer identification
numbers) are: Coldwater Creek Inc, (9266), Coldwater Creek U.S. Inc. (8831), Aspenwood Advertising,
Inc. (7427), Caldwater Creek The Spa Inc. (7592), CWC Rewards Inc, (5382), Coldwater Creek
Merchandising & Logistics Inc. (3904) and Coldwater Creek Sourcing Inc. (8530). Debtor CWC Sourcing
LLC has the following Idaho organizational identification number:. W38677, The Debtors’ corporate
headquarters is located at. One Coldwater Creek Drive, Sandpoint, Idaho 83864.
